       Case: 5:22-cv-00231-DCR-MAS Doc #: 144-3 Filed: 03/12/24 Page: 1 of 4 - Page ID#:
                                           1656
                                                 EXHIBIT 3




From: Amelia McCormick <Amelia_McCormick@kyed.uscourts.gov>
Sent: Monday, June 26, 2023 3:07 PM
To: Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>; dah41339@yahoo.com; pillersn@gmail.com
Cc: Stinnett Chambers <Stinnett_Chambers@kyed.uscourts.gov>; Morgan, Grahmn <grahmn.morgan@dinsmore.com>;
Larkin, R. Clay <clay.larkin@dentons.com>
Subject: RE: Baker et al. v. Blackhawk Mining LLC, 5:22-cv-231 Discovery Dispute

Ms. Johnson,

In that case, I will table scheduling a teleconference. Please let chambers know if the parties need
anything further from Judge Stinnett. Thank you.

Amelia Brown McCormick
Law Clerk to Magistrate Judge Matthew A. Stinnett
U.S. District Court, EDKY
101 Barr Street
Lexington, Kentucky 40507
859-300-8120

From: Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>
Sent: Monday, June 26, 2023 1:14 PM
To: Amelia McCormick <Amelia_McCormick@kyed.uscourts.gov>; dah41339@yahoo.com; pillersn@gmail.com
Cc: Stinnett Chambers <Stinnett_Chambers@kyed.uscourts.gov>; Morgan, Grahmn <grahmn.morgan@dinsmore.com>;
Larkin, R. Clay <clay.larkin@dentons.com>
Subject: RE: Baker et al. v. Blackhawk Mining LLC, 5:22-cv-231 Discovery Dispute

CAUTION - EXTERNAL:




Ms. McCormick,

As an update, attached is the email I received from Mr. Herald yesterday indicating that the Plaintiffs intend to produce
the information that has been identified as missing this week.

Thank you,

Kristeena Johnson




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                                              1657



Kristeena L. Johnson
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100 West Main St
Suite 900
Lexington, KY 40507
T (859) 425-1032 • F (859) 425-1099
E kristeena.johnson@dinsmore.com • dinsmore.com




From: Johnson, Kristeena
Sent: Friday, June 23, 2023 9:53 AM
To: 'Amelia McCormick' <Amelia_McCormick@kyed.uscourts.gov>; dah41339@yahoo.com; pillersn@gmail.com
Cc: Stinnett Chambers <Stinnett_Chambers@kyed.uscourts.gov>; Morgan, Grahmn <grahmn.morgan@dinsmore.com>;
Larkin, R. Clay <clay.larkin@dentons.com>
Subject: RE: Baker et al. v. Blackhawk Mining LLC, 5:22-cv-231 Discovery Dispute

Ms. McCormick,

I have let Mr. Pillersdorf and Mr. Herald know that of the dates below, June 28 th and June 29th work best for Defense
counsel. Mr. Pillersdorf has advised that he will be on a trip next week but should have internet access (although he is
unsure as to whether he could do a phone call).

I have also advised that if the Plaintiffs can provide us with the information we’ve outlined in our letter to them by June
30th perhaps we can forego a conference. That would still allow us to meet the July 5 th deadline to file any Motions with
the Court if we cannot resolve our issues. I am waiting to hear whether the Plaintiffs are agreeable.

Thank you,

Kristeena Johnson

From: Amelia McCormick <Amelia_McCormick@kyed.uscourts.gov>
Sent: Thursday, June 22, 2023 10:54 AM
To: dah41339@yahoo.com; pillersn@gmail.com; Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>
Cc: Stinnett Chambers <Stinnett_Chambers@kyed.uscourts.gov>
Subject: Baker et al. v. Blackhawk Mining LLC, 5:22-cv-231 Discovery Dispute

Counsel:

Ms. Johnson contacted chambers regarding a discovery dispute over written discovery responses that the
parties have not been able to resolve. She asked that Judge Stinnett conduct a teleconference next week
to assist in reaching a resolution before the July 5 deadline in Judge Reeves’ Order of May 18 (DE 49). If
Mr. Pillersdorf and Mr. Herald are in agreement that a teleconference is necessary to resolve this dispute,
Judge Stinnett would like to conduct it as soon as possible in light of the upcoming deadline.
                                                             2
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Please confer among yourselves and respond with the date and time that is most convenient
for everyone:

June 27 at 3:00
June 28 at 2:00 or 3:00
June 29 at 9:30 or 2:30
June 30 at 9:30

Judge Stinnett requires a brief written statement from both parties in advance of the teleconference,
which will be detailed in his order setting the conference. If Plaintiffs’ counsel does not believe a
teleconference is necessary to resolve this dispute, please advise.

I look forward to hearing from you soon.

Amelia Brown McCormick
Law Clerk to Magistrate Judge Matthew A. Stinnett
U.S. District Court, EDKY
101 Barr Street
Lexington, Kentucky 40507
859-300-8120




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Johnson, Kristeena

From:                               Darrell Herald <dah41339@yahoo.com>
Sent:                               Sunday, June 25, 2023 4:49 PM
To:                                 Johnson, Kristeena
Subject:                            Re: Baker v. Blackhawk, et al.


Kristeena:

I am working with Ned’s office to attempt to get all of the requested information this week.

Darrell


          On Jun 21, 2023, at 6:41 PM, Johnson, Kristeena <Kristeena.Johnson@dinsmore.com> wrote:

          Ned – please see the attached letter.

          Thank you,

          Kristeena Johnson

          <image001.jpg>
          Kristeena L. Johnson
          Partner
          Dinsmore & Shohl LLP • Legal Counsel
          City Center
          100 West Main St
          Suite 900
          Lexington, KY 40507
          T (859) 425-1032 • F (859) 425-1099
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          <image004.jpg>




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          <23-6-21 - Ltr. to N. Pillersdorf.pdf>




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